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                                                                                     No. l7-1820C

                                                                         (Filed: February 2, 2018)
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+     *   *'i   :t   ****   {(   :1.   ************          +   * *,1' * * * * * *   *                           U.S. COURT OF
                                                                                                                 FEDERAL CLAIMS
JAMES RUSSIAN.

                                                    Plaintiff,



UNITED STATES,

                                                     Defendant.

 ,t   +,t   *. :t    * * * *'t * *      *,1. :*   ********   +   **   1.,1,*   ***   *,t

                     James Russian,                 pro   se, Leavenworth, Kansas.

         Anand R. Sambhwani, Trial Attomey, commercial Litigation Branch, civil Division,
United States Department of Justice, Washington, D.C., for defendant. With him on the briefs
were chad A. Readler, Acting Assistant Attorney General, civil Division, Robert E. Kirshman,
Jr., Director, and Allison Kidd-Miller, Assistant Director, Commercial Litigation Branch,
                                                                                          Civil
Division, United States Department of Justice, Washington, D'C'

                                                                         OPINION AND ORDER

LETTOW, Judge.

        Plaintiff. James Russian, is an inmate at the United States Penitentiary, Leavenworth,
Kansas. compL. at 1; Def.'s Mot. to Dismiss ("Def.'s Mot.") at 1,ECFNo.8. OnNovember 17,
2017,Mr. Russian filed a complaint in this case seeking injunctive and monetary relief in a suit
against the United States. SeeCompl. at 1. In June 2015, Mr. Russian was convicted
                                                                                          of two
ciunts ofillegal firearm possession, one count ofpossession    of amrnunition  by  a prohibited
person, and o-ne count of possession of marijuana with intent to distribute, compl. Ex.
                                                                                          AA; see
aiso Def's Mot. at l, and was sentenced to 101 months in prison, Def.'s Mot. at
                                                                                     1. Among other
things, Mr. Russian alleges that his incarceration amounts to "being kidnapped, tortured[,]
                                                                                               and
hypothecated by [a] foreign state[]." Compl. 1,




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        Mr. Russian proclaims "himself to be a sovereign citizen, immune to the jurisdiction and
rules of'the United States' courts. Compl. Ex. E.r He avers that his "[c]itizenship is in
[h]eaven" and that he is a "Judicial Power Occupant of [the] Kansas Republic," Compl' Ex- G
(emphasis omitted), by virtue of being a "native-bom, on American soil," Compl. at l. This, in
Mr. Russian's view, endows him with "all the [r]ights, privileges, and immunities recognized in
the Constitution [of the] Kansas Republic." Compl. Ex. G (emphasis omitted). He assefis that
he is "not, nor ha[s he] ever been a citizen or subject of the United States," Compl. Ex. G, and is
therefore "a foreign sovereign American national who [is] . . . protected by the Foreign
Sovereign Immunities Act of 1976." Compl. at 1. Mr. Russian therefore views all actions taken
by the United States govemment as non-binding "commercial acts'" See Compl. 1-2.

        Mr. Russian specifically requests "immediate release from prison," "[e]xtinguishments of
all bonds, a full accounting and closure of this case . . . , [and] correcting any and all applicable
records pertaining thereto"; clearing his "so called criminal record;" appointment ofa trustee
"for dealing with the proceeds[] derived from the accounts for which [Mr. Russian] is entitled;"
olacement of Mr. Russian on a "Do NoT DETAIN OR AP[P]REHEND" list nationwide;
iettlement of any claims he or his family may file; and "whatever else [the court] deems to be
proper andjust." ComPl. at 13.

        Pending before the court is the government's motion for dismissal of Mr. Russian's
complaint under Rule 12(bX1) of the Rules of the Court of Federal Claims C'RCFC) for lack of
subjict matter jurisdiction. See generally Def.'s Mot. Mr. Russian has responded with a Motion
to Strike the govemment's motion to dismiss, ECF No. 11, and an Affidavit of Notice of Default
and Default Judgment, ECF No. 12.

                                 STANDARDS FOR DECISION

        In any action, the plaintiff has the burden of establishing jurisdiction. Reynolds v. Army
&AirForce Exch.5erv.,846F.2d746,747 (Fed, Cir. 1988) When ruling on a motionto
dismiss for lack ofjurisdiction, the court must "accept as true all undisputed facts asserted in the
plaintiffs complaint and draw all reasonable inferences in favor ofthe plainliff." Trusted
'lntegration,
              Ini.v. UnitedStates,659F.3d 1l59, 1163 (Fed. Cir.2011). The leniency afforded
to a"pro se plaintiff with respect to formalities does not relieve pro se litigants oftheir obligation
to satisf jurisdictional requirements. Kelley v. Secretary, United States Dep't of Labor,812
F.2d 1378, 1380 (Fed. Cir. 1987).

         The Tucker Act waives the sovereign immunity of the United States, see United States v.
Mitchell,463 u.s. 206,212 (1983), and provides this court with jurisdiction over "any claim
against the United States founded either upon the Constitution, or any Act ofCongress or any
rJgulation of an executive department . . . for liquidated or unliquidated damages." 28 U.S.C. $
14-91(axl). However, the Tucker Act does not provide a plaintiff with substantive rights. United
 statei v.'Testan,424 U.S. 392,398 (1976). Rather, to establish jurisdiction, "a plaintiff must
identifu a separatc source of substantive law that creates the right to money damages." Fisher v'


        rFor a more detailed explanation ofthe beliefs and claims of self-titled "Sovereign
                                                           '753'758-59 & n'8 (W'D Ya' 2007)'
 Citizens," see Bryant v. Wash. Mut. Bank,524 F. Supp.2d
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IJnited States,402F.3d 1167,1172 (Fed. Cir. 2005) (en banc in relevant part) (ciling Mitchell,
463 U.S. at216:Testan,424U.S. at398). Jurisdiction over claims for money damages does not
give rise to ,,independent jurisdiction over . . . claims for equitable reliefl" see Taylor v. united
States,ll3 Fed. Cl. 171, 173 (2013); see also United States v. King,395 U.S. 1'2-3 (1969)
(citing Glidden Co. v. Zdanok,37O U.S. 530,557 (1962); United States v. Jones,131 U.S. 1, 9
(1889), United Ststes v. Alire,73 U.S. (6 Wall.) 573, 575 (1867)); Halim v. United States,106
Fed. cl. 677, 684-85 (2012) (citing National Air Traffic Contollers Ass'n v. united stqtes, 160
F.3d 714, 716-17 (Fed. Cir. 1998)) ("This court has never been afforded the general authority to
issue declaratory judgments or to grant injunctive relief.").

        ,,lf court lacks jurisdiction to decide the merits of a case, dismissal is required as a
               a
matter of law." Grayv. United states,69Fed. cI.95,98 (2005) (citing Ex parte Mccardle,T4
U.S. (7 Wall.) 506, 514 (1868); Thoen v. United States,765 F.2d 1 1 10, 1 1 16 (Fed' Cir' 1985));
see also Trevifio, 113 Fed. Cl. a1207 ("Where the court has not been granted jurisdiction to hear
a claim, the case must be dismissed.") (citing Arbaugh v. Y & H Corp.,546 U'S' 500' 514
(2006)).

                                            ANALYSN

        The only reliefsought by Mr. Russian is equitable, despite his protestations that he has
sought monetary reliel and this court lacks jurisdiction over all such claims. See Taylor,ll3
t-ed. Cl. at 173. Even if the court were empowered to afford such relief, the court would still
lack jurisdiction over Mr. Russian's claims because they all relate to his request that the court
reviJw the decision ofthe United States District Court for the District of Kansas and overtum his
conviction. See Compl. at 13, Ex. AA. The Tucker Act does not provide this court with
iurisdiction to review the decisions of other federal courts. Sse Trevifio v. United States, 113
Fed. Cl. 204,208 (2013) ("[T]his court does not have jurisdiction over other federal courts
                                                                                               or
their employees :') (citing Joshua v. United States, l7 F.3d 378, 3 80 (Fed' Cir' 1994))'

        Because Mr. Russian has not asserted any claim that gives rise to
                                                                          jurisdiction in this
court, this action must be dismissed. See Thoen,'165 F.2d aI1116'

                                           CONCLUSION

    For the reasons stated, the govemment's motion to dismiss Mr. Russian's complaint is
GRANTED.2 The clerk shall enter judgment in accord with this disposition'

         No costs.

         It is so ORDERED.


                                                           Charles F. Lettow
                                                           Judge


         2Plaintiff s motion to strike is DENIED,   as is his   motion for default judgment'
                                                    1
